
Daniel, Judge,
after stating the case as above, proceeded as follows: It is a general rule of law, that a party to a suit cannot be a witness in it. This rule is not founded merely on the consideration of his interest.. The rule is partly, at least, founded on a principle of policy for the prevention of perjury, 2 Stack. Ev. 580. If the attesting witness to an instrument has become interested and a party to a cause, even though he disqualify himself voluntarily, still, if his adversary wishes to prove the instrument, the handwriting of the subscribing witness may be proved; and if that cannot be done, proof of the handwriting of the person who executed the instrument is admissible. If proof of neither can be obtained by disinterested witnesses, the party must resort to his bill of discovery in equity: The answer then is evidence as an admission, 1 Stark. Ev. 5 (American edition) 325, 326; and the cases there referred to. There must be a new trial.
Per Curiam. Judgment reversed.
